Case 3:17-cv-00072-NKM-JCH Document 58 Filed 11/01/17 Page 1lof1 Pageid#: 211

AFFIDAVIT OF PROCESS SERVER Job # 2875

Client Info:

Robert T. Cahill, Esquire

Cooley, LLP

11951 Freedom Drive, 14th Floor
Reston, VA 20190

 

Case Info:

PLAINTIFF: USDC FOR THE WESTERN DISTRICT OF VIRGINIA
ELIZABETH SINES, ET. AL.

~versus- .
DEFENDANT: Court Case # 3:17-CV-00072-NKM
JASON KESSLER, ET. AL.

Service Info:

 

 

Date Received: 10/24/2017 at 10:50 AM

Service: I Served MICHAEL TUBBS

With: SUMMONS IN A CIVIL ACTION; CIVIL COVER SHEET: CIVIL COVER SHEET ADDENDUM; COMPLAINT;
PLAINTIFFS' JURY DEMAND :

 

by leaving with (Name) ; (Relationship)
At Residence 524 COLE ROAD w Cane: FL 32218

Manner of Service:

Personal: By Personally delivering copies to the person being served.
ubstituted at Residence: By leaving copies with at the dwelling house or

usual place of adobe of the person being served with a member of the household over the age of and explaining the
general nature of the papers. .

[_] Substituted at Business: By leaving with , during office hours, copies at the
office of the person/entity being served with the person apparently in charge thereof.

[_] Posting: By posting copies in a conspicuous manner to the front door of the person/entity being served.

L] Other:

 

 

LJ Non-service: After due search, careful inquiry and diligent attempts at the address(es) listed below, I have been
unable to effect the process upon the person/entity being served because of the following reason(s):

 

 

 

Served Description: (Approx)

 

 

Age: + SOX! , Race: _2, Height:__* __", Weight: , Hair: Glasses:
I Mike Hackett certify that I a je of 18, have no interest in the above action, and I am authorized in the jurisdiction in
which this service was made. "Fi /

   

. Signature of Server:
Mike Hackett ‘

CAPITOL PROCESS SERVICES, INC.
1827 18TH STREET NW
Washington, DC 20008

Client # 1534515

SUBSCRIBED AND SWORN to before methis__7./, */4 day of_Aetobey_, dit, by Mike Hackett, Proved to me
on the basis of satisfa Cory evidence to be the person(s) who appeared before me.

tf,

 
   
 

        

J] owt, RICHARD J MCGEVERAN |]
27 f, Ce State of Florida-Notary Publiclf

a2 += Commission # GG 100877

GBS My Commission Expires

aay Lim” May 02, 2021

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